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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


 THOMAS ANDERSON, et al.,

         Plaintiffs,
                                                    Case No. 1:23-CV-00989
 v.
 UNITED AIRLINES, INC., et al.,                    Honorable Matthew F. Kennelly


         Defendants

                  PLAINTIFFS’ MOTION FOR ENLARGMENT OF TIME

        COMES NOW, the Plaintiffs, by and through undersigned counsel, and hereby

respectfully moves the Court to grant an extension of thirty days for Plaintiffs to respond to the

Defendants’ motion to dismiss from May 22nd to June 21, 2023 due primarily to the

overwhelming recent and ongoing demands of the approximately thirty-four January 6th cases

counsel is involved in occurring in the District of Columbia and other cases, as well as medical

circumstances regarding one of counsel’s key staff members. Due to these factors, it is simply

impossible at this point for counsel to meet the current deadline in any adequate way.

        Most significantly, counsel John M. Pierce and his law partner Roger I. Roots are

currently in a 12-count felony January 6th trial that commenced on Monday May 15th in the case

of United States v. Thomas, 1:21-cr-00552 (DLF). This case is not anticipated to reach a verdict

until at least the middle of next week, after the current May 22nd deadline in this case. Counsel’s

law firm is very small, and all resources of the firm are currently consumed working on this trial.

From a realistic standpoint, we will simply not be able to dedicate any meaningful resources to

any other case until this trial is over. (And, of course, there was an immense amount of trial

preparation work that had to be completed prior to the trial.)
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       Counsel had completed a different January 6th nine-count felony trial in United States v.

Alberts, Case No. 21-cr-026 (CRC) in mid-April shortly before the Motion to Dismiss was filed

in this case. We did anticipate being able to dedicate sufficient time to work on our response

(more likely an amended complaint as of course under Fed. R. Civ. P. 15(a)(1)) in between these

two trials. However, yet another January 6th case presented extraordinary and unexpected exigent

circumstances during this intervening time period.

       In the case of United States v. Todd, 1:22-cr-166 (MAU), an expedited three-hour

preliminary bond revocation hearing arose on May 2nd. As a result of that hearing, the Court

agreed to modify the conditions of release for Defendant to allow him to stay free on bond

pending a substantive evidentiary bond revocation hearing scheduled for May 9th. The Court’s

decision to not detain Defendant was contingent on my agreement to (and Court order that I)

actively coordinate various aspects of the Defendant’s release, including daily mental health

treatment along with daily visits with pre-trial services, daily status reports, and development of

a proposed plan for relocation of the Defendant to a different judicial district to present to the

Court at the hearing. In addition, preparation for the substantive evidentiary bond revocation

hearing had to begin immediately in light of the investigation, potential witness testimony and

preparation of additional evidence needed for the revocation hearing. This required essentially a

full-time effort from that date until the bond revocation hearing on May 9th to ensure my own

and the Defendant’s compliance with the Court’s order, to ensure Defendant was not detained

prior to the hearing, and to ensure adequate preparation for that hearing involving Defendant’s

liberty interest. Ultimately, that Defendant was not detained. However, that decision was

contingent on my assisting with the execution of the relocation plan to a different judicial district

that had been approved by the Court, in addition to my continued monitoring of the Defendant’s
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compliance and submission of weekly reports to the Court. This has continued to require

substantial time.

           Counsel also had to spend a large amount of time preparing for and participating in a

major hearing on motions for leave to amend and to dismiss on May 11th in a major civil RICO

action in United States District Court in the Northern District of California in the case of

Loomer, et al. v. Meta Platforms, et al., 3:22-cv-02646-LB. This hearing had been continued

several times due to counsel’s January 6 th case commitments and could not be delayed any

further.

           Counsel also needed to spend substantial time on critical administrative tasks to ensure

the viability and stability of his small firm to ensure it could continue to operate to represent the

hundreds of clients it has in January 6th and other cases of extraordinary Constitutional and civil

liberties significance (including of course this case).

           Despite all of this, we were hopeful to be able to meet the current deadline, but a medical

issue involving surgery arose with a key member of our staff involved in this case earlier this

week. It has now simply become impossible to meet the May 22nd deadline. Counsel apologizes

for the late notice of this request, but an extension of time is now urgently needed especially in

light of the factual and legal complexity of this case to ensure the interests of Plaintiffs are

adequately represented.

           In numerous instances in the course of this litigation and an earlier related case, counsel

for Plaintiffs has consistently agreed to similar procedural requests from counsel for Defendants.

           Although counsel did have two January 6th trials scheduled in June, those have both been

continued. As a result, the next January 6th trial is scheduled for July 10th, 2023. Thus, Plaintiffs
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do not anticipate needing to make any further requests for extension of time to file their response

or amended complaint. We greatly appreciate the Court’s attention to this.

        WHEREFORE, the Plaintiffs respectfully move for enlargement of time in order to

adequately respond to Defendants’ motion to dismiss from May 22nd to June 21, 2023.




Dated: May 17, 2023                                                  Respectfully Submitted,


                                                                           /s/ Kevin F. O’Connor
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